Case 1:19-cv-23131-RNS Document 32 Entered on FLSD Docket 12/20/2019 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                           Case No. 19-23131-Civ-SCOLA/LOUIS

  EQUAL EMPLOYMENT
  OPPORTUNITY COMMISSION

         Plaintiff,
  &

  LOUISE DAVIDSON-SCHMICH,

         Plaintiff-Intervenor,
  vs.

  UNIVERSITY OF MIAMI,

        Defendant.
  ________________________________/

        UNOPPOSED MOTION FOR COURT APPROVAL OF CONFIDENTIALITY
                              AGREEMENT

         Plaintiff Equal Employment Opportunity Commission (“EEOC”) respectfully moves
  the Court to enter an order approving the parties’ proposed Agreed Confidentiality Order.
         Pursuant to Fed. R. Civ. P. 26(c), the parties reached a confidentiality agreement and
  stipulated to the entry of this agreement as an order to govern the exchange of confidential
  information in this case. Upon a showing of good cause, a court may enter an order to protect
  a party or person from annoyance, embarrassment, oppression, or undue burden or expense”
  including “specifying terms […] for the disclosure or discovery” and “requiring that a trade
  secret or other confidential research, development, or commercial information not be revealed
  or be revealed only in a specified way…”. Fed. R. Civ. P. 26(c)(1)(B) and (G). EEOC has
  good cause to request that the Court enter the parties’ Agreed Confidentiality Order.
         In this case, EEOC and Plaintiff Intervenor Louise Davidson-Schmich allege that
  Defendant University of Miami discriminated against Dr. Davidson-Schmich, a professor in
  Defendant’s Political Science Department, with respect to pay on the basis of her sex and in
  violation of Title VII of the Civil Rights Act of 1964, Title I of the Civil Rights Act of 1991,
Case 1:19-cv-23131-RNS Document 32 Entered on FLSD Docket 12/20/2019 Page 2 of 3



  and the Equal Pay Act of 1963. See DE ## 1, 13. During the parties’ conferral on the Joint
  Scheduling Report, Defendant asked for a confidentiality agreement stating concerns about
  certain information, such as the pay records that would be sought in this case. Therefore, the
  parties conferred and filed an Agreed Confidentiality Order as part of the parties’ Joint
  Scheduling Report (DE #17-2). This proposed order defines documents for which protection
  is sought as “documents containing trade secrets, or other confidential or proprietary research,
  development, manufacturing, or commercial or business information, information
  confidential by statute or personal health or financial information…” Exhibit 1, ¶ 3 (Proposed
  Agreed Confidentiality Order). The parties also stipulated that the terms of the proposed order
  would remain in effect only through the conclusion of this lawsuit and any related appeals.
  Id., ¶ 11.
          EEOC then served Defendant with its First Request for Production of Documents on
  November 1, 2019, requesting the personnel files of Dr. Davidson-Schmich as well as that of
  her comparators. On December 16, 2019, Defendant responded to EEOC’s request and stated
  that it would not produce documents contained within these files absent the Court’s entry of
  the parties’ proposed confidentiality order. EEOC respectfully submits that good cause exists
  to enter the parties’ stipulated Confidentiality Order. See Whitwam v. JetCard Plus, Inc., No.
  14-CV-22320, 2015 WL 1014292, at *1 (S.D. Fla. Jan. 21, 2015) (entering parties’ stipulated
  confidentiality order); Gutescu v. Carey Int'l, Inc., No. 01-4026-CIV-GOLD/SIM, 2002 WL
  34245136, at *1 (S.D. Fla. Aug. 8, 2002) (same).
                             CERTIFICATE OF CONFERENCE
          EEOC conferred with counsel for Defendant and Plaintiff-Intervenor prior to filing
  this motion. Neither Defendant nor Plaintiff-Intervenor oppose the relief sought herein.


  Dated: December 20, 2019
                                              Respectfully submitted,

                                              s/ Ana Consuelo Martinez
                                              Ana Consuelo Martinez
                                              Florida Bar No. 110394
                                              Trial Attorney
                                              U.S. Equal Employment Opportunity
                                              Commission
                                              Miami District Office

                                                 2
Case 1:19-cv-23131-RNS Document 32 Entered on FLSD Docket 12/20/2019 Page 3 of 3



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                                        3
